       Case 2:12-cv-00859-LMA Document 1265 Filed 03/18/20 Page 1 of 1



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL                                           CIVIL ACTION

VERSUS                                                         NO. 12-859

MARLIN GUSMAN, ET AL                                           SECTION I

                                         ORDER

       IT IS ORDERED that the telephone status conference presently set for TUESDAY,

MARCH 24, 2020 at 8:45 A.M. is still going forward. The call-in number for the conference is

888-684-8852 and the access code is 4190501.

       New Orleans, Louisiana this 18th day of March, 2020.



                                           _____________________________________
                                                 LANCE M. AFRICK
                                           UNITED STATES DISTRICT JUDGE
